      Case 4:04-cv-00380-SPM-AK Document 31 Filed 05/10/05 Page 1 of 1


                                                                                Page 1 of 1


                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                               TALLAHASSEE DIVISION


JOHN HODGES,

      Plaintiff,
v.                                                  CASE NO. 4:04-cv-00380-SPM-AK

CITY OF QUINCY,

     Defendant.
___________________________/

                                      ORDER

      This matter is before the Court on Defendant’s Motion for Extension of Time to

File Dispositive Motions. (Doc. 30). Having considered said motion, which is

unopposed, the Court is of the opinion that it should be GRANTED, and the time for

filing dispositive motions shall be extended to May 17, 2005, and the response time

shall be extended to May 31, 2005.

      DONE AND ORDERED at Gainesville, Florida, this 10th day of May, 2005.



                                        s/ A. KORNBLUM
                                        ALLAN KORNBLUM
                                        UNITED STATES MAGISTRATE JUDGE
